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                     UNITED STATES COURT OF APPEALS
                         FOR THE FOURTH CIRCUIT
                   1100 East Main Street, Suite 501, Richmond, Virginia 23219
                                 www.ca4.uscourts.gov
                                   October 1, 2019

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                                      No. 19-386
                             (2:15-cr-00002-RAJ-DEM-1)
                                ___________________

  In re: JASON MARVIN SAUNDERS

              Movant
               ___________________________________________

                     DOCKETING NOTICE--2244 MOTION
                ___________________________________________

 This case has been placed on the court's docket under the above-referenced number,
 which should be used on papers subsequently filed in this court. If the court
 requires a response to the motion, it will direct the filing of a response within no
 more than 7 days. See Local Rule 22(d).

 Counsel filing on behalf of a party must file an Appearance of Counsel form.
 Court forms are available as links from this notice and at the court's web site,
 www.ca4.uscourts.gov.

 Parties are responsible for ensuring that social security numbers, juvenile names,
 dates of birth, and financial account numbers are redacted from any documents filed
 with the court and that any sealed materials are filed in accordance with the
 enclosed Memorandum on Sealed and Confidential Materials. Attorneys are
 required to file electronically in the Fourth Circuit. Information on obtaining an
 electronic filer account is available at www.ca4.uscourts.gov.

 Cathy Poulsen, Deputy Clerk
 804-916-2704
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            SEALED & CONFIDENTIAL MATERIALS
 Internet Availability of Docket & Documents

 Fourth Circuit case dockets and documents are available on the Internet via the
 Judiciary's PACER system (Public Access to Court Electronic Records). The Fourth
 Circuit docket is available on the Internet even if the district court docket was
 sealed. If a party's name was sealed in the district court, it should be replaced by
 "Under Seal" or a pseudonym on appeal.

 Due to the electronic availability of court documents, the federal rules prohibit
 including certain personal data identifiers in court filings. In addition, parties should
 not include any data in their filings that they would not want on the Internet.
 Counsel should advise their clients on this subject so that an informed decision can
 be made. Responsibility rests with counsel and the parties, not with the clerk.

 Documents filed by the parties in immigration and social security cases are not
 accessible over the Internet to the public. In immigration and social security cases,
 public Internet access is limited to the court's docket, orders, and opinions.

 Federal Rules of Procedure

 The federal rules of procedure require filers to redact any of the following personal
 data identifiers (PDIs) if included in court filings: (1) social security and tax ID
 numbers must be limited to last four digits; (2) minor children must be identified by
 their initials only; (3) dates of birth must show the year only; (4) financial account
 numbers must be limited to the last four digits only; and (5) home addresses in
 criminal cases must be limited to city and state only. The federal rules establish
 limited exceptions to these redaction requirements. See Fed. R. App. P. 25(a)(5);
 Fed. R. Civ. P. 5.2; Fed. R. Crim. P. 49.1; Fed. R. Bankr. P. 9037

 Judicial Conference Privacy Policy

 In addition, the judiciary's regulation on Privacy Policy for Electronic Case Files
 prohibits filers from including any of the following criminal documents in the
 public file: (1) unexecuted summonses or warrants; (2) bail or presentence reports;
 (3) statement of reasons in judgment of conviction; (4) juvenile records; (5)
 identifying information about jurors or potential jurors; (6) CJA financial affidavits;
 (7) ex parte requests to authorize CJA services and (8) any sealed documents, such
 as motions for downward departure for substantial assistance, plea agreements
 indicating cooperation, or victim statements.
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 Local Rule 25(c)

 Local Rule 25(c) limits the sealing of documents by requiring that sealed record
 material be separated from unsealed material and placed in a sealed volume of the
 appendix and by requiring the filing of both sealed, highlighted versions and public,
 redacted versions of briefs and other documents.

 Documents that were not sealed before the agency or district court will not be
 sealed in this court unless a motion to seal is filed and granted in this court.

 Since the ECF events for sealed filings make the documents accessible only to the
 court, counsel must serve sealed documents on the other parties in paper form.

 Sealed Volume of Appendix

 If sealed record material needs to be included in the appendix, it must be placed in a
 separate, sealed volume of the appendix and filed with a certificate of
 confidentiality. In consolidated criminal cases in which presentence reports are
 being filed for multiple defendants, each presentence report must be placed in a
 separate, sealed volume served only on Government counsel and counsel for the
 defendant who is the subject of the report.

    •   Use ECF event-SEALED APPENDIX to file sealed electronic appendix
        volume(s). One sealed paper volume must be sent to the court. If the case is
        tentatively calendared for oral argument, 3 additional paper copies of the
        sealed appendix must be filed, with additional copies being ordered by the
        court if otherwise needed. Cover of sealed appendix volume must be marked
        SEALED, and paper copies must be placed in envelopes marked SEALED.
        Sealed volume must be served on other parties in paper form.
    •   Use ECF event-Certificate of confidentiality to identify authority for
        treating material as sealed and to identify who may have access to sealed
        material. A paper copy of the certificate of confidentiality must accompany
        the paper copy of the sealed appendix filed with the court.
    •   Use ECF event-APPENDIX to file public electronic appendix volumes(s).
        One public paper volume must be sent to the court. If the case is tentatively
        calendared for oral argument, 3 additional paper copies of the appendix must
        be filed, with additional copies being ordered by the court if otherwise
        needed. Paper copies of public volumes of appendix do not need to be served
        on other parties if they were served with public appendix in electronic form.
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 Sealed Version of Brief

 If sealed material needs to be referenced in a brief, counsel must file both a sealed,
 highlighted version of the brief and a public, redacted version of the brief, as
 well as a certificate of confidentiality.

    •   Use ECF event-SEALED BRIEF to file sealed electronic version of brief in
        which sealed material has been highlighted. One sealed paper copy must be
        sent to the court. If the case is tentatively calendared for oral argument, 3
        additional paper copies of sealed brief must be filed, with additional copies
        being ordered by the court if otherwise needed. Cover of sealed brief must be
        marked SEALED, and paper copies must be placed in envelopes marked
        SEALED. Sealed version must be served on other parties in paper form.
    •   Use ECF event-Certificate of confidentiality to identify authority for
        treating material as sealed and to identify who may have access to sealed
        material. A paper copy of certificate of confidentiality must accompany the
        paper copy of the sealed brief filed with the court.
    •   Use ECF event-BRIEF to file public electronic version of brief from which
        sealed material has been redacted. One paper copy must be sent to the court.
        If the case is tentatively calendared for oral argument, 3 additional paper
        copies of the brief must be filed, with additional copies being ordered by the
        court if otherwise needed. Paper copies of public brief do not need to be
        served on other parties.

 Sealed Version of Motions and Other Documents

 If sealed material needs to be referenced in a motion or other document, counsel
 must file both a sealed, highlighted version and a public, redacted version, as
 well as a certificate of confidentiality.

    •   Use ECF event-SEALED DOCUMENT to file sealed electronic version of
        document in which sealed material has been highlighted. First page of
        document must be marked SEALED. No paper copies need be filed, but
        other parties must be served in paper form.
    •   Use ECF event-Certificate of confidentiality to identify authority for
        treating material as sealed and to identify who may have access to sealed
        material.
    •   Use the appropriate ECF event (e.g., MOTION or RESPONSE/ANSWER)
        to file public electronic version of document from which sealed material has
        been redacted. No paper copies of public document are needed for filing or
        service.
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 Motions to Seal

 Counsel should file a motion to seal if the material was not previously sealed by
 virtue of the Privacy Policy for Electronic Case Files, or by statute, rule, regulation,
 or order. Counsel should also file a motion to seal if it is necessary to seal the
 entire brief or motion and not possible to create a public, redacted version.

 The motion to seal must appear on the public docket for five days; therefore,
 counsel must file both a sealed, highlighted version of the motion to seal (along
 with a certificate of confidentiality) and a public, redacted version of the motion
 to seal. The motion to seal must identify the document or portions thereof for
 which sealing is requested, the reasons why sealing is necessary, the reasons a less
 drastic alternative will not afford adequate protection, and the period of time for
 which sealing is required.

 For further information on redacting information from filings, please see No. 19,
 How do I redact items from pleadings?
